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                                                  U.S. Department of Justice

                                                           United States Attorney
                                                           Southern District of New York
                                                          The Silvio J. Mollo Building
                                                          One Saint Andrew’s Plaza
                                                          New York, New York 10007

                                                           May 19, 2021

        BY ECF

        Honorable Paul A. Engelmayer
        United States District Judge
        40 Foley Square
        New York, New York 10007

            Re: United States v. Richard Rubin, et al., 20 Cr. 632 (PAE)

        Dear Judge Engelmayer:

                The Government writes in response to the Court’s May 17, 2021 order. The Government
        has conferred with defense counsel regarding the need for a conference on June 1, 2021. With
        consent of counsel for each defendant, the Government respectfully requests that the conference
        be adjourned for 30 days, to allow the parties to continue discussions regarding pre-trial
        dispositions.

               In addition, the Government respectfully requests that time be excluded under the Speedy
        Trial Act if an adjournment is granted. The Government has conferred with defense counsel for
        Thomas Craft, who consents to the exclusion of time. The Government has reached out to defense
        counsel for Richard Rubin on the Speedy Trial Act exclusion, but has not yet heard back.




                                                    Respectfully submitted,

                                                    AUDREY STRAUSS
                                                    United States Attorney

                                                by: _____/s__________________________________
                                                    Martin Bell/Jordan Estes
                                                    Assistant United States Attorneys
                                                    (212) 637-2463/2543

GRANTED. The conference is adjourned to July 14, 2021 at 10:30 a.m. For the reasons stated within,
time is excluded, pursuant to 18 U.S.C. § 3161(h)(7)(A), until July 14. 2021. The Clerk of Court is
requested to terminate the motion at Dkt. No. 33.
                                                    SO ORDERED.                   5/20/2021
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                                                               __________________________________
                                                                     PAUL A. ENGELMAYER
                                                                     United States District Judge
